                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:12CR239

  UNITED STATES OF AMERICA                  )
                                            )
  Vs.                                       )                       ORDER
                                            )
  (18) WILLIAM BROWN                        )
  __________________________________________)

          This matter is before the Court upon motion of the government to stay the Order
  of the magistrate entered September 17, 2013 allowing withdrawal of appointed counsel
  for Mr. Brown. This matter, along with new counsel’s Motion to Continue and Motion
  for Extension of Time will be addressed at a hearing on September 25, 2013 at 2:00 p.m.
  in CR# 3.
          IT IS SO ORDERED.
                   Signed: September 19, 2013
           2013




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